        Case 1:16-cr-10343-ADB Document 580 Filed 12/05/18 Page 1 of 13



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



UNITED STATES

        v.                                                Criminal No. 16-CR-10343-ADB
MICHAEL L. BABICH et al.,
                                                          REDACTED VERSION
       Defendants.




     DEFENDANTS’ MOTION AND MEMORANDUM OF LAW TO EXCLUDE THE
                  TESTIMONY OF JOSEPH RANNAZZISI

       Three months after the government’s expert disclosure deadline––and just two months

prior to the start of the trial––the government disclosed Mr. Rannazzisi, an expert witness who has

publicly raged against opioid company executives on national television and called for “lock[ing]

up, arrest[ing] one of these corporate officers” so that “everyone sits up and takes notice” because

“three-piece suit guys don’t do well in prison,”1 to testify about the regulatory scheme governing

the DEA’s manufacturing quotas for controlled substances. When challenged about the disclosure,

the government claimed that it intends to call Mr. Rannazzisi as a fact witness during its case-in-

chief, and would save any expert testimony for rebuttal.         But this claim is belied by the

government’s own disclosure––and common sense. Mr. Rannazzisi’s proffered testimony is

quintessential expert testimony, which was disclosed to Defendants in an untimely fashion. That

alone should warrant Mr. Rannazzisi’s exclusion from the government’s case-in-chief.



1
 Mr. Rannazzisi made these statements on CBS’s 60 Minutes. See “The Whistleblower,
Redemption” available at https://www.cbs.com/shows/60_minutes/video/sAGgOZUmuaVmCJ
VExk81_DDAH9TRixdO/the-whistleblower-redemption/ (Oct. 15, 2017).

                                             1
         Case 1:16-cr-10343-ADB Document 580 Filed 12/05/18 Page 2 of 13



        Mr. Rannazzisi’s proffered testimony is also irrelevant. The government wants Mr.

Rannazzisi to testify at length about the “overall regulatory scheme” that governs “the method by

which the DEA establishes the amount of quota for each drug and each drug manufacturer,” as

well as the “duties and obligations placed upon DEA registrants” under that scheme. But the word

“quota” is nowhere to be found in the 75 paragraphs of the Second Superseding Indictment, or in

the 259 paragraphs of the First Superseding Indictment. That makes sense, because Insys was not

subject to the regulatory scheme governing quotas and never requested any quotas for fentanyl

from the DEA.2 That task fell to DPT Lakewood, a contract manufacturer, which requested a

combined quota for all of the companies that it serviced, including Insys.

        Worse yet, allowing Mr. Rannazzisi to testify would unfairly prejudice Defendants. Mr.

Rannazzisi has a prominent public presence, which he has used to rail against opioid manufacturers

and distributors.   His views are based on his general dislike of, and bias against, opioid

executives—not any first-hand knowledge about these Defendants. The turn to public agitation to

“lock them up” by commentators like Mr. Rannazzisi is bad enough in American politics; the same

commentators should not be permitted to double their damage by testifying in support of the “lock

up” effort at trial. A witness who is so compromised in his personal desire to see corporate

defendants prosecuted for the opioid crisis does not belong on the stand in this case.

        Accordingly, Defendants respectfully request that the Court preclude Joseph Rannazzisi

from testifying at trial in any capacity.




2
 The government has already timely disclosed another DEA expert—Todd Prough—to testify
about regulatory matters that are actually at issue in this case. Defendants are not seeking to
exclude Mr. Prough. See Ltr. from N. Yeager to Defense Counsel (Aug. 1, 2018) (Ex. 1) at 2.

                                             2
            Case 1:16-cr-10343-ADB Document 580 Filed 12/05/18 Page 3 of 13



                                         BACKGROUND

        On November 11, 2018, the government notified Defendants of an additional “expert

disclosure[]” it intended to make: Joseph Rannazzisi. Ltr. from N. Yeager to Defense Counsel

(Nov. 11, 2018) (Ex. 2). The disclosure, in full, states:

        Mr. Rannazzisi will testify regarding the DEA’s implementation of the provisions
        of 21 USC § 826, including 21 CFR § 1303. His testimony will include an overview
        of the method by which the DEA establishes the amount of quota for each drug and
        each manufacturer. It is anticipated that Mr. Rannazzisi will testify that the
        substance quotas are established by scientists employed by the DEA who rely in
        part upon the total number of prescriptions written for each particular drug. Further,
        it is anticipated that Mr. Rannazzisi will testify that the controlled substance quota
        process is a regulatory measure that is part of an overall regulatory scheme to
        protect the closed system of distribution. Further, that the overall scheme includes,
        but is not limited to, drug quotas, as well as the duties and obligations placed upon
        DEA registrants, including distributors, practitioners, and pharmacies. It is also
        anticipated that Mr. Rannazzisi will testify that (a) the controlled substance quotas
        will decrease naturally as the number of prescriptions decrease within a basic class;
        (b) the number of prescriptions will decrease as DEA registrants comply with the
        controls and regulatory requirements placed upon them by the C.S.A. and its
        regulatory framework; and (c) that arbitrarily decreasing drug quotas, without
        enforcing the C.S.A.’s requirements on DEA registrants, risks creating a drug
        shortage for patients with legitimate need (e.g. the supply of the drug will decrease
        while the number of patients and illicit drug seekers will stay the same or increase,
        forcing competition for a smaller amount of pharmaceuticals).

        Last, it is anticipated that Mr. Rannazzisi will provide an overview of the C.S.A.’s
        suspicious activity reporting requirements. Further, it is anticipated that Mr.
        Rannazzisi will testify regarding the DEA’s enforcement of the reporting
        requirements of 21 C.F.R. § 1301.74.

Id. at 2.

        Concerned by this disclosure, which came more than three months after the deadline

established in the Amended Scheduling Order for expert disclosures, Defendants sought

clarification. Ltr. from Defense Counsel to N. Yeager (Nov. 14, 2018) (Ex. 3). In response, the

government claimed that Mr. Rannazzisi will not be called as an expert in the government’s case-

in-chief, but instead was disclosed as a potential rebuttal expert. E-mail from N. Yeager to Defense



                                              3
           Case 1:16-cr-10343-ADB Document 580 Filed 12/05/18 Page 4 of 13



Counsel (Nov. 17, 2018) (Ex. 4). But the word “rebuttal” did not appear once in the disclosure,

nor did the government identify who or what Mr. Rannazzisi would be rebutting. (Ex. 2.)

Moreover, in response to Defendants’ inquiry, the government for the first time indicated that it

“reserve[d] the right to call [Mr. Rannazzisi] in [the government’s] case in chief as a fact witness.”

(Ex. 4.)

       Joseph Rannazzisi’s history with the DEA is long and turbulent. He retired from the DEA

in October 2015, after being pushed out of his role as head of the diversion control unit.3 By many

accounts, his departure was the result of his obstinance and refusal to work with opioid

manufacturers and distributors.4 Since then, he has made it his mission to publicly rail against

opioid manufacturers and distributors, while shifting any blame away from the DEA’s diversion

efforts (or lack thereof) under his leadership. This has included appearing as a “whistleblower” in

an episode of 60 Minutes.              See “The Whistleblower, Redemption” available at

https://www.cbs.com/shows/60_minutes/video/sAGgOZUmuaVmCJVExk81_DDAH9TRixdO/t

he-whistleblower-redemption/ (Oct. 15, 2017). In the course of this interview, Mr. Rannazzisi

demonstrated that he could never be an objective expert in an opioid matter given his “smoldering

rage.” Id. According to Mr. Rannazzisi, the opioid crisis was fueled by “drug dealers in lab coats.”




3
  Allan MacDonell, The DEA Has a Massive Pill Problem, and Now It’s the World’s Problem
Too, Kindland, Dec. 23, 2016, available at https://www.thekindland.com/policy/the-dea-has-a-
massive-pill-problem-and-now-its-2471 (“In 2015 . . . Rannazzisi was removed from the DEA’s
Office of Diversion Control. He resigned soon after.”).
4
  Id. (“Accounts agree that Rannazzisi consistently opposed a soft, collaborative approach to
enforcing violations of established opioid control policy.”); see also Scott Higham & Lenny
Bernstein, Amid Opioid Crisis, 2016 Law Derails DEA’s Enforcement Abilities, St. Paul Pioneer
Press (Oct. 16, 2017), available at https://www.twincities.com/2017/10/16/amid-opioid-crisis-
2016-law-derails-dea/ (quoting former Deputy Attorney General James M. Cole regarding Mr.
Rannazzisi’s refusal to even meet with Cardinal Health, a drug distributor, despite the fact that
“hearing what Cardinal had to say could inform DEA of facts they may not have known”).

                                              4
        Case 1:16-cr-10343-ADB Document 580 Filed 12/05/18 Page 5 of 13



Id. He also made frequent references to people dying from opioid use, in a clear attempt to stoke

fear and anger that has no bearing on this case. Id.

       Mr. Rannazzisi’s rage at opioid companies led him to call for “lock[ing] up, arrest[ing] one

of these corporate officers” so that “everyone sits up and takes notice” because “three-piece suit

guys don’t do well in prison.” Id. His opinions may drive television ratings, but they have no

place in a judicial proceeding to decide Defendants’ guilt or innocence. And it is unreasonable to

expect a witness as biased against opioid executives as Mr. Rannazzisi to set such biases aside and

offer dispassionate, fact-based testimony.

                                          ARGUMENT

       Mr. Rannazzisi’s expert disclosure is untimely and irrelevant, unfairly prejudicial, and

likely to mislead and confuse the jury. See Fed. R. Evid. 402, 403. Accordingly, his testimony

should be excluded.

I.     MR. RANNAZZISI’S TESTIMONY IS IRRELEVANT.

       Mr. Rannazzisi has been disclosed as an expert to discuss DEA manufacturing quotas.5

But there is no allegation of misconduct regarding quotas in this case. The word “quota” is

nowhere to be found in the First or Second Superseding Indictments. And the government has

made no allegations that Insys failed to properly request annual quotas from the DEA, or abide by

those quotas once granted.



5
   A brief portion of the government’s disclosure for Mr. Rannazzisi deals with suspicious order
monitoring. This should nevertheless be excluded under Rule 403, due to the unfair prejudice to
Defendants should he be allowed to testify. See infra Sec. II. Additionally, the government has
already timely disclosed DEA Agent Todd Prough to cover the same subject. (See Ex. 1
(disclosing Agent Prough as an expert on “the duties and responsibilities of D.E.A. registrants
when handling controlled substances, including the need to register with the D.E.A., [and] the need
to detect and report suspicious activity”).)


                                             5
Case 1:16-cr-10343-ADB Document 580 Filed 12/05/18 Page 6 of 13
        Case 1:16-cr-10343-ADB Document 580 Filed 12/05/18 Page 7 of 13



       The government has alleged that Defendants joined a conspiracy related to the prescribing

and distribution of Subsys. See generally Second Superseding Indictment. But quotas are relevant

only to how much product can be manufactured, not how it is distributed or prescribed. See 21

C.F.R. § 1303. Simply put, Mr. Rannazzisi’s proffered testimony about quotas has no probative

value in this case and should be excluded. See United States v. Bulger, 816 F.3d 137, 155 (1st Cir.

2016) (affirming district court’s decision to preclude witness from testifying because testimony

would have been irrelevant and highly prejudicial). And allowing any testimony on the subject of

DEA quotas would distract the jury from the actual issues in this case. See Rockwell Automation,

Inc. v. Advanced Georservices Corp., No. Civ. A. 03-3895, 2004 WL 3142448, at *1 n.1 (E.D. Pa.

Dec. 21, 2004) (“[I]f the admission of evidence will lead to the litigation of collateral issues that

may distract the jury, the Court may exclude the evidence.”) (citing Blancha v. Raymark Indus.,

972 F.2d 507, 516 (3d Cir. 1992)).

II.    ALLOWING MR. RANNAZZISI TO TESTIFY WOULD UNFAIRLY PREJUDICE
       DEFENDANTS.

       Under Federal Rule of Evidence 403, “[t]he court may exclude relevant evidence if its

probative value is substantially outweighed by a danger of one or more of the following: unfair

prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or needlessly

presenting cumulative evidence.” See also Onujiogu v. United States, 817 F.2d 3, 6 (1st Cir. 1987)

(observing that the “district court has wide discretion in steadying the Rule 403 seesaw”). Even

where expert testimony is otherwise admissible, it must still be excluded if its probative value is

outweighed by its potential to cause unfair prejudice. Fed. R. Evid. 403; see also United States v.

Schneider, 111 F.3d 197, 203 (1st Cir. 1997) (“[T]he district court was free to exclude . . . evidence

on the ground that its capacity to mislead the jury substantially outweighed its limited relevance.”).

Unfair prejudice means “an undue tendency to suggest decision on an improper basis, commonly,


                                              7
        Case 1:16-cr-10343-ADB Document 580 Filed 12/05/18 Page 8 of 13



though not necessarily, an emotional one.” Old Chief v. United States, 519 U.S. 172, 180 (1997)

(quoting Fed. R. Evid. 403 Advisory Committee’s Notes); see also United States v. Varoudakis,

233 F.3d 113, 122 (1st Cir. 2000) (“Usually, courts use the term ‘unfair prejudice’ for evidence

that invites the jury to render a verdict on an improper emotional basis.”).

       A.      Mr. Rannazzisi’s Disclosed Testimony Constitutes Expert––Not Fact––
               Testimony, And Is Untimely and Prejudicial.

       To try to get around its untimely disclosure, the government has recast Mr. Rannazzisi as

a fact witness. This contradicts the government’s own initial disclosure and ignores the practical

consequences of having him testify as a fact witness.

       Mr. Rannazzisi was a DEA employee during the alleged conspiracy period and signed the

quota approval letters issued to DPT Lakewood during that time. But testimony on that topic alone

would be nonsensical without more for context, such as the method of calculating quotas, the fact

that “the controlled substance quota process is a regulatory measure that is part of an overall

regulatory scheme to protect the closed system of distribution,” and an explanation that “the overall

scheme includes, but is not limited to, drug quotas, as well as the duties and obligations placed

upon DEA registrants, including distributors, practitioners, and pharmacies.” These are the topics

included in Mr. Rannazzisi’s expert disclosure. (Ex. 2.)

       United States v. Vega, 813 F.3d 386 (1st Cir. 2016), is instructive on this point. There, the

government sought to have two federal agents testify as lay witnesses regarding Medicare

regulation. Id. at 395. The Court held that admitting such testimony was error because it required

a technical understanding of Medicare laws and regulations beyond the bound of “personal

knowledge,” into the forbidden territory of “lending the jury their knowledge of Medicare law to

provide definitive commentary on the matter.” Id. The agents “could form their opinions only by

understanding technical Medicare laws and regulations.” Id. The fact that the agents “had


                                             8
        Case 1:16-cr-10343-ADB Document 580 Filed 12/05/18 Page 9 of 13



knowledge of Medicare law through their occupations [did] not make it ‘personal knowledge’

qualifying as lay expertise.” Id. The government seeks to have Mr. Rannazzisi do precisely what

the First Circuit deemed improper in Vega: interpret DEA regulations and “provide definitive

commentary on the matter,” without complying with the rules for appropriate expert disclosure.

       The distinction between fact and expert is an important one. Given Mr. Rannazzisi’s

background at the DEA, the jury is likely to treat his testimony as expert testimony even if he

technically is labeled a fact witness. See United States v. Hines, 55 F. Supp. 2d 62, 64 (D. Mass.

1999) (“[A] certain patina attaches to an expert’s testimony unlike any other witness; this is

‘science,’ a professional’s judgment, the jury may think, and give more credence to the testimony

than it may deserve.”); United States v. Montas, 41 F.3d 775, 784 (1st Cir. 1994) (“By appearing

to put the expert’s stamp of approval on the government’s theory, such testimony might unduly

influence the jury’s own assessment of the inference that is being urged.”). This undue influence

is further compounded by the fact that the government also claims that it wants Mr. Rannazzisi to

testify as an expert witness during its rebuttal case. The jury will likely be confused about which

opinions were expert opinions and which were technically fact opinions. As a result, the jury is

likely to treat the entirety of his testimony as expert testimony––giving it undue weight.

       Expert disclosure deadlines are not a mere formality that the government can dispose of as

it pleases. “‘The purpose of the expert disclosure rules is to facilitate a fair contest with the basic

issues and facts disclosed to the fullest practical extent’ and to prevent parties from seeking the

‘unfair tactical advantage that can be gained by failing to unveil an expert in a timely fashion.’”

Roach v. CUNA Mut. Ins. Co., 385 F. App’x 2, 5-6 (1st Cir. 2010) (quoting Poulis-Minott v. Smith,

388 F.3d 354, 358 (1st Cir. 2004)). It is for this reason that the Court here long ago ordered the

government to make its expert disclosures on August 1, 2018. (Dkt. No. 279). The government’s



                                              9
        Case 1:16-cr-10343-ADB Document 580 Filed 12/05/18 Page 10 of 13



belated attempt to circumvent this deadline by suggesting Mr. Rannazzisi’s testimony could be

split into fact testimony, which it would introduce in its case-in-chief, and expert testimony, which

it would save for its rebuttal case, should not be countenanced. See Pride v. BIC Corp., 218 F.3d

566, 578 (6th Cir. 2000) (A trial court has “broad discretion to exclude untimely disclosed expert

witness testimony.”).

       B.      Mr. Rannazzisi Is A Deeply Biased Advocate, Not An Objective Expert.

       Mr. Rannazzisi was pushed out of the DEA in 2015 due to an inability to work

collaboratively with the industry he was attempting to regulate. He has openly advocated for

opioid company executives to be “lock[ed] up, arrest[ed]” so that “everyone sits up and takes

notice.” Id. This is not even veiled prejudice––it is a badge that Mr. Rannazzisi has worn loud

and proud. This attitude will infect any opinion that he offers in this case, which the government

has brought against the very class of individuals against whom Mr. Rannazzisi is biased. Some

courts have concluded “that ‘where an expert becomes an advocate for a cause, he therefore departs

from the ranks of an objective expert witness, and any resulting testimony would be unfairly

prejudicial and misleading.’” United States v. Kelley, 6 F. Supp. 2d 1168, 1183 (D. Kan. 1998)

(quoting Conde v. Velsicol Chemical Corp., 804 F. Supp. 972, 984 (S.D. Ohio 1992)). At the very

least, under such circumstances, it is appropriate for a court to look more closely at whether the

expert’s testimony should be admitted. Id. (excluding expert after a close look); see also In re Air

Crash Disaster at Detroit Metro. Airport, 737 F. Supp. 427, 430 (E.D. Mich. 1989)

(same), aff'd, 917 F.2d 24 (6th Cir.1990).

       Mr. Rannazzisi’s bias in this case goes far beyond the typical. When combined with the

irrelevance of his proffered testimony, it is clear that the government has no permissible basis for

putting him on the witness stand.



                                             10
       Case 1:16-cr-10343-ADB Document 580 Filed 12/05/18 Page 11 of 13



                                         CONCLUSION

       For the foregoing reasons, the Court should exclude the testimony of Joseph Rannazzisi in

full. In the alternative, the Court should at least limit Mr. Rannazzisi to serve as a true rebuttal

witness, who may only testify if Defendants’ case-in-chief opens the door to his proffered

testimony.




                                            11
      Case 1:16-cr-10343-ADB Document 580 Filed 12/05/18 Page 12 of 13



Dated: December 5, 2018                          Respectfully submitted,

/s/ Joseph Sedwick Sollers, III                  /s/ Beth A. Wilkinson
Joseph Sedwick Sollers, III                      Beth A. Wilkinson (admitted pro hac vice)
(admitted pro hac vice)                          bwilkinson@wilkinsonwalsh.com
wsollers@kslaw.com                               Alexandra M. Walsh (admitted pro hac vice)
Mark Jensen (admitted pro hac vice)              awalsh@wilkinsonwalsh.com
mjensen@kslaw.com                                Kosta Stojilkovic
King & Spalding LLP                              kstojilkovic@wilkinsonwalsh.com
1700 Pennsylvania Avenue NW                      Wilkinson Walsh + Eskovitz LLP
Washington, D.C. 20006                           2001 M Street NW
Telephone: (202) 737-0500                        Washington, D.C. 20036
                                                 Telephone: (202) 847-4000
William H. Kettlewell (BBO# 270320)
wkettlewell@collorallp.com                       Brien T. O’Connor (BBO# 546767)
Hogan Lovells                                    brien.o’connor@ropesgray.com
Boston, MA 02110                                 Aaron M. Katz (BBO# 662457)
Telephone: (617) 371-1005                        aaron.katz@ropesgray.com
                                                 Ropes & Gray LLP
Attorneys for Michael Babich                     Prudential Tower 800 Boylston Street
                                                 Boston, MA 02199
Steven A. Tyrrell (admitted pro hac vice)        Telephone: (617) 951-7000
steven.tyrrell@weil.com
Patrick J. O’Toole, Jr. (BBO# 559267)            Attorneys for Dr. John Kapoor
Patrick.otoole@weil.com
Weil, Gotshal & Manges LLP                       /s/ Tracy A. Miner
2001 M Street, NW                                Tracy A. Miner (BBO# 547137)
Washington, D.C. 20036                           tminer@demeollp.com
Telephone: (202) 682-7213                        Megan Siddall (BBO# 568979)
                                                 msiddall@demeollp.com
Attorneys for Richard Simon                      Demeo LLP
                                                 200 State Street
/s/ Michael Kendall                              Boston, MA 02109
Michael Kendall (BBO# 544866)                    Telephone: (617) 263-2600
michael.kendall@whitecase.com
Alexandra Gliga (BBO# 694959)                    Attorneys for Michael Gurry
alexandra.gliga@whitecase.com
White & Case, LLP                                /s/ Peter Horstmann
75 State Street                                  Peter C. Horstmann (BBO# 556377)
Boston, MA 02109                                 pete@horstmannlaw.com
Telephone: (617) 939-9310                        Law Offices Peter Charles Horstmann
                                                 450 Lexington Street, Suite 101
Attorneys for Joseph Rowan                       Newton, MA 02466
                                                 Telephone: (617) 723-1980

                                                 Attorney for Sunrise Lee


                                            12
       Case 1:16-cr-10343-ADB Document 580 Filed 12/05/18 Page 13 of 13



                            LOCAL RULE 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1(a)(2), I hereby certify that counsel for Dr. Kapoor have in good
faith conferred with counsel for the government to resolve or narrow the issues presented by this
motion, and that the disputed issues remain unresolved.

                                             /s/ Beth A. Wilkinson
                                             Beth A. Wilkinson
                                             Counsel for Dr. John Kapoor


                                CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document will be served on all counsel of record through
the ECF system.

                                             /s/ Beth A. Wilkinson
                                             Beth A. Wilkinson
                                             Counsel for Dr. John Kapoor
